
By the Court :
The common pleas erred in overruling the demurrers to the petitions, and in entering judgment.
1. The actions were not on the official bond of Mount as treasurer of the township, but were for money had and received by the defendant’s intestate. The limitation applicable to the causes of action stated in the petitions was that of six years, as provided in section 14 of the civil code, and not that of ten years, as provided in section 17 or section 18. The petitions showed that the six years’ limitation had taken effect.
2. The actions not'being on the official bond of the treasurer, the township clerk was not the proper party plaintiff, (S. &amp; C. 1356, sec. 27,) although the trustees of the township ordered him to sue for and collect the money.
Judgments reversed.
